Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 1 of 28 PageID #: 37374




                   EXHIBIT J
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 2 of 28 PageID #: 37375
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 3 of 28 PageID #: 37376
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 4 of 28 PageID #: 37377
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 5 of 28 PageID #: 37378
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 6 of 28 PageID #: 37379
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 7 of 28 PageID #: 37380
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 8 of 28 PageID #: 37381
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 9 of 28 PageID #: 37382
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 10 of 28 PageID #: 37383
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 11 of 28 PageID #: 37384
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 12 of 28 PageID #: 37385
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 13 of 28 PageID #: 37386
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 14 of 28 PageID #: 37387
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 15 of 28 PageID #: 37388
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 16 of 28 PageID #: 37389
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 17 of 28 PageID #: 37390
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 18 of 28 PageID #: 37391
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 19 of 28 PageID #: 37392
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 20 of 28 PageID #: 37393
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 21 of 28 PageID #: 37394
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 22 of 28 PageID #: 37395
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 23 of 28 PageID #: 37396
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 24 of 28 PageID #: 37397
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 25 of 28 PageID #: 37398
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 26 of 28 PageID #: 37399
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 27 of 28 PageID #: 37400
Case 3:17-cv-01362 Document 1115-9 Filed 10/24/20 Page 28 of 28 PageID #: 37401
